Case 3:16-cv-02077-GAG-B.]I\/| Document 161-2 Filed 12/08/17 Page 1 of 1

 

Frank Zorrilla &K\/§\\cd;`;i__ l
m

From: Franl< Zorri|la Ma|clonado <franJ<zorri|laZ@gmail.com>

Sent: Thursclay, December 7, 2037 11:13 AM

To: Fran|< Zorril|a Maldonado

Subject: chl: Rule 26 meeting

Sent from my iPhone

Begin forwarded message:

From: laime i.uis Sanabria Montaiez <'sanabria sla biaw.com>

Date: December 6, 2017 at 5:42:42 Pf\/l AST

To: Carlos F. topez <chariiefopez@gmai|.com>

Cc: "franl<zorrillaZ@gmail.com" <frankzorril§aZ@gmail`com>, Eda i\/|.
<emavalam@hotmail.com>, Arturo V Bauermeister <abauerme§ster@sbgb|aw.com>, Arleen
Vazquez <ayazquez@sbelolaw.eom>, Eric Perez»Ochoa <epo@amgprlaw.com>, Cesar Rosario-
Vega <rosario@amgprlaw.com>, "ytoyos@ramostoyoslaw.com"
<ytoyos@ramostoyos§aw.com>

Subject: FW: Rule 26 meeting

Charlie:

Espero que estés bien. So|o para ac|arar el record nuestro acu@rdo contigo después de la reunion de
agosto de 2017 es que ibamos a estair evaluando toda la documentacion que solicitaste para ver si existe
y si es producib|e, y en un ejercicio de buena fe, identificar cua'l podia ser pertinente al asunto
jurisdicciona| y que no estuviese protegida por algijn privilegio evidenciario. Estamos en esa etapa, pero
Ees pedimos unos dias mas.

Para resolver este asunto, sugiero que nos reunamos el iunes, 38 de diciembre de 2017, en la tarde, en
la oficina de Frank Zorriila, a quien copio en este mensaje. De esta manera, también participan de la
reunion los abogados del Fideicomiso. Tenemos la mejor intencion de resolver esta disputa procesaf lo
antes posible.

Por favor, déjame saber si tienes a|guna pregunta.
Un abrazo,

}aime L. Sanabria |Vlontaiiez| SBGB LLC

Tel. 787.300.3200 |Fax. 787.300`3209 |l\/Eob. 787.504.3004
33 Calie Resoluci<')n - Corporate Center

Ste. 202 fSari Juan, PR 00920

§sanabria@sbgblaw.com

This emai! may contain privileged and confidentiai information if you received this message in error,
please notify the sender and delete it immediately

